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                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §
          v.                               §     CRIMINAL NO. H-18-710-S
                                           §
CLARENCE C. ROLAND III                     §

               GOVERNMENT'S REQUESTED VOIR DIRE

    The United States of America files herein its requested voir dire questions.

                                    Respectfully submitted,

                                    JENNIFER B. LOWERY
                                    UNITED STATES ATTORNEY

                              By:   /s/ John R. Braddock
                                    JOHN R. BRADDOCK
                                    Assistant United States Attorney
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           GOVERNMENT'S REQUESTED VOIR DIRE NO.                           1

      Is there anyone here who is acquainted with or knows the defendant, Clarence

C. Roland III?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                           2

      Defendant Clarence Roland is representing himself in this cases and David

Nachtigall is standby counsel.

      Assistant United States Attorneys John Braddock and John Wakefield

represent the United States in this case.

      Do any of you know any of these attorneys?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                           3

      If you have been in your current job or employment for less than five (5) years,

what was your previous job or employment?

      If you are retired, what was your employment prior to your retirement?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                           4

      Are any of you suffering from a physical limitation affecting your hearing or

sight which would make it difficult for you to serve as an alert juror?

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      Are any of you under the care of a physician?



            GOVERNMENT'S REQUESTED VOIR DIRE NO.                       5

      Has any member of the panel ever served as a juror in a civil or criminal case

in which an agreement as to a verdict was not reached?



            GOVERNMENT'S REQUESTED VOIR DIRE NO.                       6

      Has any member of the panel ever had a personal interest in the outcome of a

criminal case? By the term "personal interest" is meant:

      (a)    Made an appearance as a witness in a criminal case.

      (b)    Or, an interest in behalf of a close friend or relative charged with a

             crime.

If so, what is the nature of the interest?



            GOVERNMENT'S REQUESTED VOIR DIRE NO.                       7

      Are there any among you who are now or have previously been charged with

a state or federal crime?

      Are there any among you who have a family member or close friend who has

been charged with a state or federal crime?

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      Are there any among you who have been the subject of a federal or state

criminal investigation?

      Are there any among you that presently have any case pending at this time in

State Court, Federal Court, Tax Court, or with any federal agency or appeal

authority?



             GOVERNMENT'S REQUESTED VOIR DIRE NO.                    8

      Are there any among you who have any claim against the United States or any

agency or department of the United States including the Internal Revenue Service

pending at this time?



              GOVERNMENT'S REQUESTED VOIR DIRE NO.                       9

      Are there any among you whose business or personal activities have brought

you into contact with fraud?

      If yes, what were the circumstances?



             GOVERNMENT'S REQUESTED VOIR DIRE NO.                   10

      Do you have an attorney with whom you regularly consult? If so, what is

his or her name? On what type of matters do you consult with the attorney?

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          GOVERNMENT'S REQUESTED VOIR DIRE NO.                         11

      Is there any among you who would not believe the testimony of a witness who

had been employed by a sheriff’s department or was a member of a federal agency

including a Special Agent with the Federal Bureau of Investigation merely because

the witness is a law enforcement officer and for no other reason?

      On the other hand, is there any among you who would believe the testimony

of a Special Agent simply because the witness is a law enforcement officer?



          GOVERNMENT'S REQUESTED VOIR DIRE NO.                         12

      Is there any among you who would not believe the testimony of a witness just

because the witness had been previously convicted of a felony and for ono other

reason?



          GOVERNMENT'S REQUESTED VOIR DIRE NO.                         13

      The law permits testimony by a co-conspirator. Is there any among you who

would not believe the testimony of a co-conspirator witness just because the witness

is a co-conspirator and for no other reason?




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            GOVERNMENT'S REQUESTED VOIR DIRE NO.                        14

        Have any of you previously applied for a mortgage loan or a home equity

loan?

        If you obtained a mortgage or equity loan do feel that at any point you were

treated unfairly by the lending company, loan servicing company or their agent or

representative?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                         15

        Do any of you have a family member or close friend who you feel was treated

unfairly by the lending company, loan servicing company or their agent or

representative?



            GOVERNMENT'S REQUESTED VOIR DIRE NO.                        16

        As a result of any such unfair treatment, was there any litigation or other

dispute resolution activities with a lending company, loan servicing company or their

agent or representative?




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          GOVERNMENT'S REQUESTED VOIR DIRE NO.                         17

      Did the result of that unfair treatment or dispute cause you, your family

member or a close friend to file for bankruptcy?



          GOVERNMENT'S REQUESTED VOIR DIRE NO.                         18

      Have any of you either currently or in the past challenged the validity of any

type of a mortgage or consumer loan?

      If so, in what manner did you challenge the validity of that loan?

    Are you familiar with any challenge by a family member or close friend to the

validity of a mortgage or consumer loan?



          GOVERNMENT'S REQUESTED VOIR DIRE NO.                         19

    Have any of you sold residential property which had an outstanding mortgage

or home equity loan?

    When the property was sold, was the outstanding loan paid off?



          GOVERNMENT'S REQUESTED VOIR DIRE NO.                         20

    Have any of you engaged in a “short sale” of a residential property which was

the collateral for an outstanding mortgage or home equity loan?

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     Was the “short sale” approved by the mortgage company who held the

mortgage note?

     When the property was sold. Was any portion of the outstanding loan paid with

the proceeds of the sale?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                         21

   Are you, a family member or close friend, currently or previously involved in

the lending industry?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                         22

   Are you, a family member or close friend, currently or previously involved

professionally in selling or purchasing real estate?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                         23

   Are you, a family member or close friend, currently or previously involved in

the business of closing real estate transactions through a title company or attorney’s

office?




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           GOVERNMENT'S REQUESTED VOIR DIRE NO.                        24

   Are you, a family member or close friend, currently or previously involved

professionally in title searches concerning real property?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                        25

   Are you, a family member or close friend, currently or previously involved in

any manner in writing or selling title insurance?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                        26

   Are you, a family member or close friend, attempted to collect or actually collect

on a title insurance policy?

     Was the entirety of your losses covered by the title insurance payment?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                        27

   Are you, a family member or close friend, currently or previously involved

professionally in debt or mortgage elimination?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                        28

   Are you, a family member or close friend, currently or previously involved

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professionally in credit repair?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                       29

   Have you, a family member or close friend, currently or previously been a

notary?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                       30

      The government has the burden of proving the defendant's guilt beyond a

reasonable doubt. While the government's burden is a strict or heavy burden, does

each of you understand that it is not necessary that the defendant's guilt be proven

beyond all possible doubt or a shadow of doubt?



           GOVERNMENT'S REQUESTED VOIR DIRE NO.                       31

      The law makes no distinction between direct and circumstantial evidence.

Would you give each the same weight in your deliberations?



           GOVERNMENT'S REQUESTED VOIR DIRE NO. 32

      Do any of you have such a bias or prejudice against the defendant or the

government that you could not render a true verdict?

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           GOVERNMENT'S REQUESTED VOIR DIRE NO.                          33

      Do any of you have any reason that you know of as to why you could not

render a true verdict based solely on the evidence presented in this case or why you

do not want to sit as a juror in this case?



             GOVERNMENT'S REQUESTED VOIR DIRE NO.                           34

      Do any among you have any conscientious objection, religious belief or

mental reservation such that you could not, in good faith, sit as a juror in a criminal

case and return a verdict of guilty, even if you believe from all of the evidence, that

the government has proved its case beyond a reasonable doubt?



                            CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Government's

Requested Voir Dire was delivered electronically to Defendant Clarence Roland and

David Nachtigall, Standby Counsel for defendant Clarence Roland, on this the 1st

day of September, 2022.

                                         /s/ John R. Braddock
                                         JOHN R. BRADDOCK
                                         Assistant United States Attorney

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